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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF VIRGINIA
                                     (Alexandria Division)

JODI C. MAHDAVI,

            Plaintiff
v.

NEXTGEAR CAPITAL, INC.                              Case No. 1:14-cv-0648-TSE-TCB

and

P.A.R. SERVICES, INC.,

            Defendants.
                                            /

                                                ORDER

            The Court, having considered Defendant P.A.R. Services, Inc.’s Motion for Summary

Judgment, its supporting Memorandum, the Plaintiff’s Memorandum in Opposition thereto, the

reply of P.A.R. Services, Inc., and the respective argument of counsel.

            UPON CONSIDERATION WHEREOF, pursuant to FED. R. CIV. P. 56, it appearing that

there are genuine issues of material facts it is hereby

            ORDERED this ____ day of ____________, 20___ that Defendant P.A.R. Services,

Inc.’s Motion for Summary Judgment is DENIED.

                                                             ________________________
                                                             Judge, United States District Court
                                                             for the Eastern District of Virginia
	  
